                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
MPR:ER                                              271 Cadman Plaza East
F. #2019R00927                                      Brooklyn, New York 11201


                                                    March 27, 2020

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Judge Cogan:

                The parties respectfully submit this written status update to the Court in the
above-captioned matter. In light of the Coronavirus pandemic presently affecting New York
City, the parties’ respectfully request that the Court adjourn this status conference for 60 days.
The parties agree that an order of excludable delay is appropriate until the next status
conference, based on the Court’s previous complex case designation in this matter and
Administrative Order 2020-06.

    Discovery – The government continues the process of collecting and reviewing
     discovery for production to the defendant on a rolling basis. On February 20, 2020, the
     government produced more than 30,000 pages of documents, including statements of
     the defendant, immigration records, property and school records, financial records and
     documents related to seizures of drugs, weapons and money. See Dkt. No. 22. The
     government also produced intercepted and recorded communications, and a hard drive
     containing information downloaded from the defendant’s electronic devices. See id.
     The government expects to make its next production in the coming weeks. The
     government also is awaiting responses from outstanding subpoenas, including
     subpoenas to the defendant and his companies. In addition, the government has
     submitted Mutual Legal Assistance Treaty requests for evidence in the possession of
     several foreign governments, including the Government of Mexico, and the
     government is awaiting responses to those requests.

    CIPA – The government expects to file its motion for a pretrial conference pursuant to
     Section 2 of the Classified Information Procedures Act, 18 U.S.C. App. 3, §§ 1-16
      (“CIPA”), in the coming days. The government is in the process of taking the necessary
      steps to complete CIPA litigation in this case, including the filing of any potential
      Section 4 motion, although it is facing delays as a result of the Coronavirus pandemic.


                                                 Respectfully submitted,

                                                 RICHARD P. DONOGHUE
                                                 United States Attorney

                                          By:      /s/
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                                                 Ryan Harris
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cc:   Cesar de Castro, Esq.
      Clerk of the Court (BMC) (by ECF)




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